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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :   Criminal No. 17-46 (RBW)
       v.                                            :
                                                     :
KASSIM TAJIDEEN,                                     :
                                                     :
       Defendant.                                    :


            FACTUAL ALLEGATIONS IN SUPPORT OF JUDICIAL REMOVAL

       NOTICE IS HEREBY GIVEN TO KASSIM TAJIDEEN (“the defendant”) and to his

attorneys of record, including Chibli Mallat, Paul G. Cassell, William J. Murphy, William W.

Taylor III, Erick R. Delinsky, and Steven N. Herman, that the United States of America alleges

the following facts in support of the Notice of Intent to Request Judicial Removal:

       1.      The defendant is not a citizen or national of the United States.

       2.      The defendant is a native of Lebanon and a citizen of Belgium and Lebanon.

       3.      The defendant was paroled into the United States for the purpose of criminal

prosecution on or about March 23, 2017.

       4.      At the time of sentencing in the instant criminal proceeding, the defendant will have

been convicted in the United States District Court for the District of Columbia of Count Eleven of

the Superseding Indictment, charging Conspiracy to Launder Monetary Instruments, in violation

of Title 18 United States Code, Section 1956(h).

       5.      The maximum term of imprisonment for a conviction of Count Eleven, a violation

of Title 18 United States Code, Section 1956(h), is twenty (20) years’ imprisonment.

       6.      The defendant is, and at sentencing will be, subject to removal from the United

States pursuant to Section 212(a)(2)(I) INA, 8 U.S.C. § 1182(a)(2)(I), as an alien who a consular
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officer or the Attorney General knows, or has reason to believe, has engaged in an offense which

is described in section 1956 of Title 18, United States Code (relating to laundering of monetary

instruments).

       WHEREFORE, pursuant to Section 238(c) of the INA, 8 U.S.C. § 1228(c), the United

States of America requests that the Court, at the time of sentencing, order that the defendant be

removed from the United States to Lebanon, or in the alternative, Belgium.


                                     Respectfully submitted,

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                                            United States Attorney
                                            DC Bar No. 472845

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                                            And

                                            DEBORAH L. CONNOR
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                                     By:    ____/S/_________________________
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